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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AZUKA TWUCHUKWU : COMPLAINT FOR DAMAGES

Civil Action No.:

Plaintiff,
DEMAND FOR JURY TRIAL

VS.

ARCHDIOCESE FOR THE MILITARY
SERVICES,

and

TIMOTHY P. BROGLIO

Defendants.

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff Azuka Iwuchukwu (“Plaintiff”), by and through his attorneys, for
their causes of action against Defendants Archdiocese for the Military Services, and Timothy P.

Broglio for violation of Plaintiff's constitutional rights, and in support thereof, avers as follows:
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NATURE OF THE CASE

. This action arises from Defendants’ unlawful retaliation against Plaintiff by revoking his
endorsement and faculties to serve as a chaplain for the Delaware Department of

Veterans Affairs.

. The revocation of Plaintiff's faculties and endorsement was allegedly due to a false
accusation of inappropriate contact with a patient while Plaintiff was employed at

Georgetown University Hospital in Washington, D.C.

. As aresult of the false allegation and retaliatory actions of Defendants, Plaintiff lost his
employment with the Delaware Department of Veterans Affairs and is unable to obtain

employment as a Catholic Priest and/or Chaplain.

THE PARTIES

. Plaintiff is a citizen of the State of Delaware with an address located at 259 Christiana

Road, New Castle, Delaware 19720.

. Archdiocese for the Military Services, USA (“Archdiocese for the Military Services”) is

a non-profit corporation under the laws of the District of Columbia.

. Timothy P. Broglio (“Archbishop Broglio”) is a resident of Washington, D.C. who serves

as the Archbishop for Archdiocese for the Military.
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JURISDICTION AND VENUE

This Court has personal jurisdiction over Archdiocese for the Military Services because
the organization’s principal place of business is located in the District of Columbia, and
Plaintiffs claims against Archdiocese for the Military Services arises from conduct by the

organization that took place within this jurisdiction.

The Court has personal jurisdiction over Archbishop Broglio because he conducts

substantial business within this jurisdiction.

Venue is proper in this Court because a substantial portion of the events giving rise to this
action took place within this jurisdiction. Specifically, Defendants unlawfully subjected
Plaintiff to adverse employment action as a result of alleged actions that took place at

Georgetown University Hospital in Washington D.C.

FACTUAL ALLEGATIONS

Plaintiff was endorsed in 2006 to work as a Catholic Priest and/or Chaplain by the

Archdiocese of Washington at Georgetown University Hospital in Washington, D.C.

At that time in 2006, Plaintiff received his faculties and endorsement to serve as a

Catholic Priest through the Archdiocese of Washington.

In 2007, Plaintiff was assigned to minister to a 29-year-old female with the initial of J.V.,

who was admitted to Georgetown University Hospital as result of severe mental illness.

In 2011, Plaintiff received and accepted an employment offer with the Delaware
Department of Veterans Affairs and left his employment at Georgetown University

Hospital.
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14. At that time in 2011, Plaintiff received his faculties and endorsement by Archdiocese for
the Military Services which allowed him to be employed by the Delaware Department of

Veterans Affairs.

15. In 2012, during the course of his employment with the Delaware Department of Veterans
Affairs and while under the endorsement of Archdiocese for Military Services, Plaintiff
brought an Equal Employment Opportunity Commission (“EEOC”) claim against the
Delaware Department of Veterans Affairs due to discrimination and a hostile work

environment.

16. On or about February 26, 2008, Plaintiff received a letter from the President of
Georgetown University Hospital with an enclosed letter from J.V., complimenting
Plaintiff for the care that Plaintiff provided to J.V. (A true and correct copy of the
Georgetown University Hospital President’s letter and accompanying letter from J.V. is

attached as” Exhibit A”).

17. On or about August 17, 2018, more than 11 years since her last interaction with Plaintiff,
J.V. reported for the first that she had been allegedly sexually abused by Plaintiff at
Georgetown University Hospital while she was receiving inpatient mental services.

18. J.V. further alleged that she had been abused by Plaintiff at a campground in Erie,
Pennsylvania.

19. J.V., from her own admission and from a well-documented history, suffered from severe
mental illness.

20. On or about September 11, 2018, Plaintiff was informed by Archbishop Broglio that J.V.

had made allegations of sexual abuse against him.
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Shortly after September 11, 2018, Plaintiff was informed by Archdiocese for Military
Services that his faculties and endorsement as a Catholic Priest and/or Chaplain were

being revoked as a result of the alleged sexual abuse.

Archbishop Broglio reported the alleged sexual abuse by Plaintiff to civil law

enforcement officials in Washington D.C. and in Pennsylvania.
Plaintiff, at all times relevant, denied any allegations of sexual abuse against J.V.

On December 19, 2018, Plaintiff, in order to corroborate his innocence of the alleged

sexual abuse by J.V, paid for and conducted a polygraphy test.

The aforementioned polygraph test indicated no deception regarding Plaintiff's claim of
innocence regarding J.V.’s allegations (A true and correct copy of Plaintiff’s Polygraph

test is attached as “Exhibit B”).

Plaintiff provided the results of the polygraph test to the Archdiocese for the Military

Services.

Civil law enforcement officials in Washington D.C. and Pennsylvania did not

substantiate any of the alleged rape claims by J.V. and declined to prosecute Plaintiff.

Despite law enforcement’s decision not to prosecute Plaintiff, Archbishop Broglio, in a
letter dated October 15, 2019, put an impossible and unconstitutional burden on Plaintiff
to have an “acquittal of the accusations” by civil authorities (A true and correct copy of

Archbishop Broglio’s letter is attached as “Exhibit C”).

Archdiocese for Military Services, despite Plaintiff's request, refused to reinstate

Plaintiff's faculties and endorsement.
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30. As a result of the revocation of Plaintiff's faculties and endorsements, Plaintiff lost his

employment with the Delaware Department of Veterans Affairs.

31. Plaintiff has been unable to obtain employment as a Catholic Priest and/or Chaplain due

to the loss of his faculties and endorsement.

COUNT 1- VIOLATION OF FOURTEENTH AMENDMENT RIGHTS
UNDER THE UNITED STATES CONSTITUTION

32. Plaintiff incorporates and re-alleges all preceding paragraphs as though fully pleaded

herein.

33. The due process clause of the Fourteenth Amendment of the U.S. Constitution prohibits

state actors from depriving individuals of “property” without due process of law.

34. Pursuant to the due process clause of the Fourteenth Amendment, Plaintiff enjoyed a
constitutionally protected property right in his faculties and endorsement as a

fundamental right entitled to legal protection.
35. Defendants deprived Plaintiff of his property right without due process.

36. As a direct and proximate result of Defendants’ actions, Plaintiff's suffered the loss of
his employment with the Delaware Department of Veterans Affairs, in violation of his

rights under the Fourteenth Amendment of the United States Constitution.
WHEREFORE, Plaintiff respectfully prays that this Court enter the following relief:

A. Entry of a money judgments against in the amount of unpaid backpay accrued by
Plaintiff since Defendants’ retaliatory actions resulted in the loss of his employment

the Delaware Department of Veterans Affairs.

B. An award of punitive damages against Defendants.
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C. Reinstatement of Plaintiff's faculties and endorsement as a Catholic Priest and/or

Chaplain.
D. An award of reasonable attorney’s fees and costs incurred in pursuing this action;
E. An award of such relief as this court sees just and proper under the circumstances.

COUNT 2- VIOLATION OF DC CODE. § 2-1402.61

Coercion or Retaliation

37. Plaintiff incorporates and re-alleges all preceding paragraphs as though fully pleaded
herein.

38. Plaintiff was unlawfully retaliated against by Archdiocese for Military Services as a
result of his right to file an EEOC claim related to the discrimination he endured at the

Delaware Department of Veteran Affairs.

39. The aforementioned retaliation includes, but is not limited to, refusing to restore
Plaintiff's faculties and endorsements despite false and unsubstantiated sexual abuse

allegations against Plaintiff.

40. As a result of losing his endorsements, Plaintiff has lost and has been unable to obtain

employment as a Catholic Priest and/or Chaplain.
WHEREFORE, Plaintiff respectfully prays that this Court enter the following relief:

F. Entry of a money judgments against in the amount of unpaid backpay accrued by
Plaintiff since Defendant’s retaliatory actions resulted in the loss of his employment

with the Delaware Department of Veterans Affairs.

G. An award of punitive damages against Defendants.
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Reinstatement of Plaintiffs faculties and endorsement as a Catholic Priest and/or

Chaplain.
An award of reasonable attorney’s fees and costs incurred in pursuing this action;
An award of such relief as this court sees just and proper under the circumstances.

COUNT 3- RESPONDEAT SUPERIOR

41. Plaintiff incorporates and re-alleges all preceding paragraphs as though fully pleaded

herein.

42. At all times relevant, Archbishop Broglio was working within the time, space, and scope

of their employment and/or agency with the Archdiocese for the Military Services.

43. As the principal of Archbishop Broglio, Archdiocese for the Military Services is liable for

its agents’ and/or employees’ torts under the doctrine of respondeat superior.

WHEREFORE, Plaintiff respectfully prays that this Court enter the following relief:

A.

Entry of a money judgments against in the amount of unpaid backpay accrued by
Plaintiff since Defendants’ retaliatory actions resulted in the loss of his employment

with the Delaware Department of Veterans Affairs.
An award of punitive damages against Defendants.

Reinstatement of Plaintiff's faculties and endorsement as a Catholic Priest and/or

Chaplain.
An award of reasonable attorney’s fees and costs incurred in pursuing this action;

An award of such relief as this court sees just and proper under the circumstances.
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JURY DEMAND

44. Pursuant to Rule 38 of the Federal Rules of Civil Procedures, Plaintiff demands a trial by

jury of this action.

Dated: July 19, 2021

PLAINTIFF HEREBY REQUESTS A TRIAL BY A SIX PERSON JURY

THE IGWE FIRM

/s/ Emeka Igwe, Esquire
Emeka Igwe, Esquire

Two Penn Center

1500 JFK BLVD., Suite 1900
Philadelphia, PA 19102
Phone: 215-278-9898

Fax: 215-893-3812
Email:emeka@igwefirm.com

Attorney for Plaintiff
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Exhibit A
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M. Joy Drass, MD
President

SS
Georgetown

University “age oS

Hospital = i

February 26, 2008

Father Azuka lwucukwu
Pastoral Care

Preac Father Azuka,

Lam in receipe of the enclosed fetter fram \ Ss SB. 20 22450 the care vou

pray ded to har during her hospitalization this Fall, Ge: orgetown Liniversity Hospital strives to
deliver Patent Ferst care in all jmteractions with patients and families. Y Our Compassion und
caring were very much appreciated by this patient and her family. You truly made a positive

ineact on her healing
Please accept my profound gratitude for embodying the Patient First principles in the care and

counseling you provide

Sincerely ,
-4 f a ce ge t- ar"
‘f if 7° rk

M. Joy Iorass, MD
President

cc. Father Brian Conley, Director
Pastoral Care

MedStar Health

3800 Reservotr Road, NW, Washingten, DC 20007-2113
plone: 202 444 3000 » fax: 202 464 3095
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January 5, 2008 = oN . 9 £
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President

Georgetown University Hospital
3800 Reservoir Road, NW
Washington, DC 20007-2113

{ am writing this letter to applaud your hospital for the fine job you did when you hired
Father Azuka Iwucukwu as a Chaplain | had the distinct pleasure of meeting and
knowing Father Azuka when I was a patient for nearly a month in your behavioral health
unit on 5 West I was in the hospital from approximately October 15, 2007 until
November 19, 2007

Words cannot even do justice to the level of professionalism, compassion and caring
which Father Azuka displayed. His ability to very quickly engage me and earn my
complete trust speaks volumes for the level of talent that you have at your fine institution
Father Azuka went to what I consider “above and beyond” what was necessary to make
sure that I, as a patient, felt truly cared for. This mattérs -notonly fo me, but to each and
every one of your patients that he personally interacts with on a daily basis.

In order to give you some background: I met Father Azuka when I requested a
counseling session with a Chaplain very carly during my stay He was a fantastic
counselor and also someone | came to trust implicitly Father Azuka actually met with
my doctors when | felt that I was not communicating my feelings well enough on my
own. He also comforted my family by calling them and counseling them as well. My
family truly appreciated this, as they were very concerned about my condition He also
followed up to make sure that my needs were being met and that | was recovering.

In my opinion, had I not had such a competent, caring individual like Father Azuka |
literally could have ended up needing to stay longer in the hospital In other words, I feel
Father Azuka actually helped me to recover faster as a result of his compassionate
competent counseling ability I wish to express my gratitude to your fine organization and
I fee! I have Father Azuka to personally thank

T assure you, | had never met Father Azuka before, and I can also assure you | am not one
to write these kinds of letters or to be easily impressed, but I felt this letter was necessary,
and frankly overdue

Ttook the liberty of writing because | felt, following my experience, that the least that I
could do was take some time to write a letter on his behalf and so you know coming from
a customer, and Corporate Controller for a $20 million dollar organization what an
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Exhibit B
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Jeremiah P. Hanafin

POLYGRAPH EXAMINATION REPORT

Date of Report Date of Examination
12/19/2018 12/19/2018

Location of Examination
601! Pennsylvania Avenue, NW. Washington, D.C

Examinee’s Name
Ilwuchukwu, Azuka

Synopsis
On December 19. 2018. Azuka Iwuchukwu reported to 60 Pennsylvania Avenue, NW,
Washington, D.C. for the purpose of undergoing a polygraph exggai

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ess Whether lwuchukwu ever had sexual intercourse wi
or engaged in any sexual acts wil 'S alleging that lwuchukwu

sexually assaulted her when she was a patient at Georgetown University {fospital in 2007 and
also at her family’s home in Warren County. PA.

BL10, -cxaminaiion was

lwuchukwu was then interviewed in an cfturt to formulate the relevant questions. During this
interview. one i engaging in any sex acts with QD or engaging in

sexual intercourse with

Following this interview, Iwuchukwu was given a polygrapa examination consisting of the
following celevant questions:
Series |

A. Did you ever engage in any sex acts with QR Answer: No
B. Did you ever have sexual intercourse With Qi Answer: No

Four polygraph charts (which included an acquaintance or “stim” chart) were collected using a
Dell Inspiron 13 notebook computer and Lafayette LX4000 software. ‘This software obtained
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tracings representiny tharacic and abdominal respiration. galvanic skin response, and cardiac
activity. ALL of these physiological tracings were stored in the computer aiong with the lime chat
the questions were asked as well as text of each question The format of the lest was the avo
quesuion Federat You Phase Zone Comparison Test (ZC 1). As part of e204 meta-analysis

study doac by the American Polygraph Association (APA). the ZC1 is one of the polyeraph
examinations considered valid based upon defined research protocol. As part of the validation
process. the APA chose techniques that were reported in the Meta 22 Analytic Surves of
Validated Techniques (201!) as having lwo, independent studies that describe the criterion
vaitdity and celiability. The ZCT includes relevant questions addressing the issues to be resolved
by the examination. comparison questions to be used in analysis. symptomatic questions. and
neutral or irrelevant questions. All questions were reviewed with (wuchukwu prior to the test.
The charts collected were subjected to a numerical evaluation that scored the relative strength of
physiological reactions to relevant questions with those of the comparison questions, Ai analysis
was conducted using a tiree (3) point seale (-1, 0. #1). IP reactions were deemed to be ureater at
the relevant questions. then a negative score was assigned. If responses were deemed to be
greater at the comparison questions. then a posilive score was assigued. A decision of deceptive
is rendered if any individual question score is -3 of less or the grand total of both questions is -4
or i¢ss. A decision of non-deceptive is rendered if the grand total of both questions is +4 or more
with aw | or more at gach question,

Iwuchukwu' scores utilizing the three (3) point scale are +4 at Question A and +4 at Question B
with a total scare of +8. Based upan this analysis. it is the professional opinion of this examiner
that Lewis’ responses tu the above relevant questions are Not Indicative of Deception.

A second analysis was conducted utilizing a scoring algorithm developed by the Johns Hopkins
University Applied Physics luborato\ (PolyScore Version 7.0) which concluded "No
Deception Indicated—Probability of Deception is Less Than .01.”

A third analysis was conducted utilizing 2 scoring algorithm developed by Raymond Nelson.
Mark Handler and Donald Krapohl (Objective Scoring System Version 3) which concluded * No
Significant Reactions- Probability these results were produced by a deceptive person is

O01",
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ethical, honest, and experienced Chaplain has working for them. This persona!
experience yesterday only solidified, in my mind, why my choice was and will continue
to be Georgetown Hospital! in the future. Furthermore, [ believe this speaks to the level
of customer service that you, personally, demand from your employees — this is
impressive!

(Fyou would like to talk to me directly | would be more than happy to talk with you. [

can be reached Monday through Friday during the hours of 8 a.m - 5 p.m. :
or after 6 pm ener

Respectfully,

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Exhibit C
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ARCHDIOCESE FOR THE MILITARY SERVICES, USA

Oefick OF LTE ARCHBISHOP

i 15 October 2019

The Reverend Azuka Iwuchukwu
259 Christiana Road
New Castie, DE 19720

Dear Father lwuchukwu,

Thank you for your many messages. St is my regret that you have been held in
virtual limbo for so long.

However, the fact that civil authorities in Pennsylvania and the District of
Columbia have not taken action is not an acquittal of the accusations. The allegation
from Pennsylvania/Georgetown University has not been proven either way, and there
has been no acquittal by civil authorities. Unfortunately, the civil authorities have not,
and likely will not, investigate the PA/Georgetown allegations because the statutes of
limitations in both jurisdictions have run out. Those same authorities have not declared
that you are innocent.

Given the gravity of the accusations and after consultation with my advisors, | do
not believe that | can endorse you for service in this Archdiocese. As you know, the
AMS is under no obligation to grant endorsement or faculties to a priest.

For the same reason, any statement regarding your eventual ministry in another
diocese would have to include a mention of the accusation and the inconclusive
resolution from the civil authorities. | am afraid that no diocese in the United States
would grant you faculties.

| think that the best solution is for you to return to Nnewi, your diocese of
incardination, where you do have a right to faculties unless the Bishop would decide
otherwise. That is your best hope for continued priestly ministry. | recognize that you
journeyed to this country with a desire to serve, but the current circumstances make
priestly ministry in this instance in the USA an unviable option.

Although you had hoped for a different response, | deeply regret that | must
come to this conclusion. The accusation came from a vulnerable adult, who severely ill,
is governed by the essential norms and the Dallas Charter.

| do hope that you will be able to accept this burden and return home.
Sincerely in Christ,

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Most’Reverend) Timothy P. Broglio
Archbishop for the Military Services, USA

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